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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-60125-CIV-SCOLA/GOODMAN

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD., et al.

         Plaintiffs,

  v.

  CIRCUITRONIX LLC,

        Defendant.
  ____________________________________/

           CIRCUITRONIX, LLC’S MOTION TO FILE EXHIBITS UNDER SEAL

         Defendant, Circuitronix, LLC (“CTX”) moves, pursuant to Fed. R. Civ. P. 26(c)(1)(G)

  and Local Rule 5.4(b)(1), for leave to file under seal several confidential documents referenced

  as exhibits to its Response to Motion to Reopen and Enforce Settlement Agreement (Docket

  Entry (“DE”) [112]). Good cause exists to file these materials under seal, to varying degrees, as

  set forth below.

         Plaintiff, Jiangmen Benlida Printed Circuit Co. Ltd. (“BLD”), has filed a motion to

  enforce the parties’ settlement agreement, arguing that CTX’s exercise of its contractually

  conferred right to declare the settlement void was somehow invalid. DE [104]. CTX’s response

  to that motion explains why that argument should be rejected. Following the filing of BLD’s

  motion, the Court scheduled an evidentiary hearing on the motion. Several documents

  containing information that the parties agreed to treat as confidential provide important context

  for the Court’s consideration of the motion, CTX’s response, and for the evidentiary hearing.




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           Specifically, CTX’s response references, and invites the Court’s review of, the following

  five categories of documents (totaling seven electronic documents), which CTX cannot file in the

  public docket, for the reasons stated below:

                                                                               Reference in
                Document(s)               Reason for filing under      declaration accompanying
                                                    seal                     CTX’s response
      1 Settlement Agreement            Confidential by its terms           DE [112-1], ¶ 2(a)
        (“SA”)                          (SA, ¶ 8)                                (Ex. A)
      2 Revised Manufacturing           Confidential by its terms           DE [112-1], ¶ 2(b)
        Agreement (“RMA”)               (SA, ¶¶ 2, 8; RMA, ¶ 8)                  (Ex. B)
      3 Draft version of the            Confidential by its terms           DE [112-1], ¶ 2(c)
        Settlement Agreement            (SA, ¶¶ 2, 8; RMA, ¶ 8)           (attachment to Ex. C)
      4 BLD’s financial documents       Confidential                        DE [112-1], ¶ 2(d)
        (2 documents)                   (SA, ¶¶ 3(a), 8)                  (attachment to Ex. F)
      5 Spreadsheets CTX compiled       Contains BLD’s                      DE [112-1], ¶ 2(a)
        to present BLD’s financial      confidential financial            (attachment to Ex. G)
        information                     information (see No. 4)
        (2 Excel spreadsheets)

  CTX will, at the Court’s direction, submit these documents to the Court in camera should it wish

  to review them before ruling on this motion.1

           Good cause exists for some of these documents to be permitted to be filed under seal. See

  Fed. R. Civ. P. 26(c)(1)(G) (establishing “good cause” standard for issuance of a protective order

  concerning commercially sensitive information); see Guarantee Ins. Co. v. Heffernan Ins.

  Brokers, Inc., No. 13-23881-CIV, 2014 WL 5305582, at *1 (S.D. Fla. Oct. 15, 2014) (Goodman,

  J.) (observing that Rule 26 “authorizes a court, for good cause, to enter a protective order to seal

  or to limit disclosure”).




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    CTX exchanged these documents with BLD prior to filing this motion. We note that BLD
  objects to the form of Settlement Agreement and the RMA in that they do not attach executed
  signature pages. However, executed signature pages were never affixed to the contracts, so we
  are providing these documents in their original form at the time this dispute arose, rather than
  modifying them after the fact.


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         The reason these documents have been designated as confidential is that one or both

  parties consider them to contain confidential, commercially sensitive, proprietary information

  and/or trade secrets, the public disclosure of which could cause them competitive financial harm.

  As a general matter, that is a valid basis to place such sensitive information under seal and

  maintain its privacy. See, e.g., Abel v. Dillard’s, Inc., No. 3:19-CV-75-J-20MCR, 2019 WL

  13247339, at *2 (M.D. Fla. Aug. 7, 2019) (citing Patent Asset Licensing, LLC v. Bright House

  Networks, LLC, Case No. 3:15-cv-742-J-32MCR, 2016 WL 2991057, *2 (M.D. Fla. May 24,

  2016) and Bastian v. United Servs. Auto. Assoc., Case No. 3:13-cv-1454-J-32MCR, 2014 WL

  6908430 (M.D. Fla. Dec. 8, 2014)). We address each of the five document categories more

  particularly below, however, since different circumstances apply to each, and the law requires a

  particularized inquiry.

         1.      Settlement Agreement: The Settlement Agreement, in and of itself (divorced

  from the RMA which it incorporates), does not contain much commercially sensitive information

  from CTX’s perspective, but CTX is obligated to treat it as confidential by its terms, provided it

  remains in effect. It plainly contains some information that should not be made public, such as

  BLD’s counsel’s banking information. See Settlement Agreement, ¶ 1. CTX would have no

  objection to an order unsealing the Settlement Agreement (without the RMA), appropriately

  redacted to protect that banking information. The same is true for the draft of the Settlement

  Agreement (No. 3, below).

         2.      Revised Manufacturing Agreement. The RMA contains the most sensitive

  information from CTX’s perspective and should in substantial part be permitted to be filed under

  seal. It contains a confidential list of CTX’s exclusive customers, the identity of which CTX

  considers commercially sensitive, proprietary information. See RMA, ¶ 1.7 & Schedule A




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  (Exclusive Customer List). This Court has recently recognized that such information may

  properly be filed under seal. See ADT LLC, v. Vivint Smart Home, Inc., No. 20-CV-23391, 2022

  WL 17736186, at *1 (S.D. Fla. Dec. 16, 2022) (Goodman, J.) (permitting the filing under seal of

  portions of documents revealing “customer information and confidential and other proprietary

  information”); see also Procaps S.A. v. Patheon Inc., No. 12-24356-CIV, 2013 WL 5928586, at

  *2 (S.D. Fla. Nov. 1, 2013) (Goodman, J.) (granting motion to seal document containing “the

  names of potential customers” because disclosure of that information to “competitors may

  reasonably cause potential financial harm to [the party’s] business”).

         Likewise, the RMA contains several other components that CTX also considers highly

  commercially sensitive, proprietary information, such as its detailed pricing parameters, see

  RMA, ¶¶ 1.7, 2 & Schedule B (Pricing Matrix), and its “Lead-Time Schedule” governing

  production times and resulting price discounts, see RMA, ¶ 3.1 & Schedule C (Lead-Time

  Schedule and Lead-Time Discount). These commercially sensitive components of the RMA

  merit protection from public filing for similar reasons.

         3.      Draft of Settlement Agreement. See No. 1, supra.

         4.      BLD’s financial documents. CTX agreed in the Settlement Agreement to keep

  this information confidential. However, BLD has plainly waived the right it otherwise would

  have had to maintain that information filed under seal by virtue of having filed its substantive

  motion to enforce the Settlement Agreement which, at its very core, challenges CTX’s appraisal

  of BLD’s own financial stability, and in particular what these financial documents reveal on the

  subject. BLD’s motion disputes that CTX could have, in good faith, viewed the financial

  documents BLD sent it—in compliance with the condition in Paragraph 3(a) of the Settlement

  Agreement that BLD furnish such information to enable CTX to evaluate BLD’s financial




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  stability—as support for the view that BLD faces an unacceptable risk of instability. See Motion

  to Reopen and Enforce Settlement Agreement, DE [104], at 15, ¶ 52 (BLD arguing that “there

  has been no good-faith termination of the settlement agreement, inasmuch as there has been no

  particularized basis to believe that Benlida faces a short- to medium-term risk of insolvency,

  much less financial collapse”) (emphasis added). Necessarily then, BLD has placed its own

  finances at the center of the dispute it has asked the Court to resolve. Under such circumstances,

  information that might otherwise be entitled to protection loses that shield from public view.

  Magistrate Judge Louis’ observations in connection with mediation-privileged information apply

  with equal force to commercially sensitive information:

         courts have consistently recognized the admissibility of mediation
         communications when a party “raise[s] an issue which necessarily requires an
         evaluation of how the settlement was conducted[.]” Carles Const., Inc. v.
         Travelers Cas. & Sur. Co. of Am., 56 F. Supp. 3d 1259, 1274 (S.D. Fla. Mar. 31,
         2014). See Cooper v. Meridian Yachts, Ltd., No. 06-61630-CIV, 2008 WL
         2229552, at *11 (S.D. Fla. May 28, 2008) (“[B]ecause [Plaintiffs] must
         necessarily demonstrate the reasonableness of their settlement ... they have
         waived claims of privilege with respect to the evidence necessary to evaluate that
         issue, and [Plaintiffs’] documents concerning the substance and motivation behind
         the settlement ... must be released....”); Strong [v. Geico Gen. Ins. Co.], 2017 WL
         1006457, at *4 [(M.D. Fla. Mar. 15, 2017)] (“Plaintiff has asserted claims in the
         Complaint that specifically relate to Defendant's settlement offers, or lack thereof.
         As such, the proof of the Plaintiff's claims and Defendant’s defense of those
         claims will necessitate the introduction of evidence concerning any settlement
         offers.”)

  Roland Corp. v. InMusic Brands, Inc., No. 17-CV-22405, 2020 WL 10818392, at *3 (S.D. Fla.

  July 3, 2020).

         Although CTX does not believe that BLD’s financial information is entitled to protection

  under the law now that BLD has placed its own finances squarely at issue in this proceeding,

  CTX has nonetheless treated the information as confidential, pending resolution of this motion.

  It bears mention, even absent a waiver, that only some of the financial information BLD put in




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  play is commercially sensitive in nature, such as the amount of money it reports having in its

  accounts or the amount of its debt; other aspects of the information it disclosed to CTX are not

  sensitive.

         5.      CTX’s spreadsheets containing BLD’s financial data. These documents should be

  treated the same way as BLD’s financial documents. Given that BLD has effectively waived the

  confidentiality of its financial documents, CTX’s spreadsheets should not have to be treated as

  confidential either.

         For the foregoing reasons, CTX requests respectfully requests that the Court initially

  permit all of these documents to be filed under seal for purposes of CTX’s response to BLD’s

  motion to enforce the settlement agreement. Beyond that initial treatment, CTX requests that the

  Court subsequently enter an order, after an opportunity for in camera inspection, and at a time

  the Court deems appropriate: (1) unsealing the Settlement Agreement and draft of the Settlement

  Agreement (Nos. 1 and 3 in the chart above), but first allowing for the redaction of the defense

  counsel’s banking information from them; (2) unsealing the Revised Manufacturing Agreement

  (No. 2 in the chart), but allowing for the redaction of the commercially sensitive information

  therein discussed above; (3) unsealing BLD’s financial information (No. 4 in the chart); and (4)

  unsealing CTX’s spreadsheets containing BLD’s financial data (No. 5 in the chart).



               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         I hereby certify that I have conferred with counsel for BLD, Richard Lerner, concerning

  the relief requested in this motion. CTX conveyed each of its specific positions with respect to the

  potential unsealing of each document in question. BLD responded that while it does not object to




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  these documents being filed under seal, it would object to the unsealing of any portions of any of

  them.

                                                              By: /s/ Stephen F. Rosenthal
                                                                      Stephen F. Rosenthal

  Dated: December 21, 2022

                                       Respectfully submitted

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of

  Notices of Electronic Filing generated by CM/ECF on December 21, 2022 as filed with the Clerk of

  the Court using CM/ECF.

                                                              By: /s/ Stephen F. Rosenthal
                                                                      Stephen F. Rosenthal




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